[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION RE: MOTION FOR JUDGMENT
The court has reviewed the record certified to it by the Board of CT Page 9521 Review, the defendant's memorandum of law, the plaintiffs pleading and has considered the plaintiffs remarks that he made at the short calendar of Tuesday July 10, 2001. The decision of the Board of Review follows reasonably from the facts found and correctly applies the law to those facts. The decision is not arbitrary, capricious or contrary of law. The decision is affirmed.
The appeal is dismissed.
BY THE COURT
                                       ___________________ MILTON H. BELINKIE JUDGE TRIAL REFEREE